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 4   LINDSAY ANNE WESTON
     Attorney State Bar NO. 73132
 5   1477 Drew Avenue, Suite 106
     Davis, California 95618
 6   (530) 756-7774
 7   Attorney for Defendant
     KHALILAH LATOYA FULLER
 8

 9
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF CALIFORNIA
10

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12   UNITED STATES OF AMERICA
                                                     )   Case No.: CR S-08-0145-FCD
13                  Plaintiff,                       )
                                                     )   STIPULATION AND ORDER
14          vs.                                      )
                                                     )   AMENDING CONDITIONS OF
15   KHALILAH LATOYA FULLER, et. al.,                )   PRETRIAL RELEASE
                                                     )
16                  Defendants.                      )
                                                     )
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                    IT IS HEREBY STIPULATED and agreed to between the United States of
20   America through Russell Carlberg, Assistant United States Attorney and defendant, KHALILAH
     LATOYA FULLER, by and through her counsel, Lindsay Anne Weston, that the terms and
21
     conditions of defendant’s pre-trial release be amended to include her participation in mental
22   health counseling as directed by the United States Pre-trial Services Office. Defendant’s Pre-trial
     Services Officer, Taifa M. Gaskins, is in agreement with amending the conditions of release to
23   include mental health counseling.
24

25   Dated: June 3, 2008                          Respectfully submitted,
26
                                                  /s/Lindsay Weston
                                                  _________________________________
27                                                LINDSAY ANNE WESTON
                                                  Attorney for Defendant
28
                                                  KHALILAH LATOYA FULLER




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 4   Date: June 3, 2008                  MCGREGOR W. SCOTT
 5
                                         United States Attorney

 6                                       /s/ Lindsay Weston for
                                         _______________________________
 7
                                         RUSSELL CARLBERG
 8                                       Assistant United States Attorney
                                         Per e-mail authorization
 9

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12
                                   ORDER
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14   IT IS SO ORDERED.

15   Dated: June 5, 2008.
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